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UNITED STATES DISTRICT COURT»,@:

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Middle District of Florida
Orlando Division

William Flores, DC# Tl6425
Plaintiff,

VS- Case No. U»lq -CU- SU'~F~ U£L'l€ GJIC-

(10 bej?ll'ed in by the Clerk 's Ojjfr`ce)

 

Florida Department of Corrections, et.al.,
Sued in Their lndividual and Ofticial capacity;
Defendant(s).

DEMAND FOR JURY TRlAL

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
PRISONER COMPLAINT

This is a civil rights action by William Flores, a state prisoner, for punitive damages,
nominal damages, and compensatory damages under 42 U.S.C. § 1983, alleging retaliatory and
adverse actions by the above-mentioned defendant(s) in violation of the First Amendment to the
United States Constitution as the Plaintiff was placed in segregated confinement for filing
grievances and, the Plaintiff was subsequently given a false disciplinary report and stripped of
his visiting privileges for a year, all of Whieh are in violation of the plaintiffs First, Eight and
Fourteenth Amendment to the Constitution.

All defendants have, at all times relevant, deprived the plaintiff of his Constitutional
rights; and the defendants deprived plaintiff of his Constitutional rights acting under the color of

state law.

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JURISDICTION

This Court has jurisdiction over the plaintist claims of violation of federal constitutional
rights under 42 U.S.C. §§ 1331(1) and 1343, seeking to redress the deprivation of constitutional
rights by defendants acting under the color of state law and rights secured by the Acts of
Congress proving for equal rights of persons Within the jurisdiction of the U.S.; and to recover

damages or other relief under any Act of Congress proving for the protection of civil rights.

I. The Parties to This Complaint

A. The Plaintiff

Name: William Flores

Prison ID Number: T16425

Current Institution: Central Florida Reception Center (C.F.R.C) -East Unit
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. Make
sure that the defendant(s) listed below are identical to those contained in the above
caption. For an individual defendant, include the person’s job or title (if known) and
check whether you are bringing this compliant against them in their individual capacity
or official capacity, or both.

Defendant No.l
Name: JULIE L. JONES
Job or Title: Secretary of the Florida Department of Corrections
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 501 S. Calhoun Street, 'I`allahassee, Fl. 32399-2500
lZl Individual capacity IZI Official capacity

Defendant No.2

Name: C. NEEL

Job or Title: Secretary’s Representative

Shield Number: Unknown

Employer: Florida Department of Corrections

Address: 501 S. Calhoun Street, Tallahassee, Fl. 32399-2500

|Zl Individual capacity IZl Official capacity

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Defendant No.3
Name: S. CUMBIE
Job or Title: Warden of Central Florida Reception Center (C.F.R.C.) - East/Main/South Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity lZl Official capacity

Defendant No.4
Name: C. CASIMIR
Job or Title: Assistant Warden of C.F.R.C. - East/Main/South Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity lZl Official capacity

Defendant No.5
Name: L. TATE
Job or Title: Major of C.F.R.C - East Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity lZl Offlcial capacity

Defendant No.6
Name: LARRY FLONNERY
Job or Title: Captain of C.F.R.C. - East Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity IZI Official capacity

Defendant No.7
Name: ANTONIO SAUNDERS
Job or Title: Captain of C.F.R.C.- East Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
|Z| Individual capacity lZl Official capacity
Defendant No.8
Name: DUSTIN MUGG
Job or Title: Sergeant of C.F.R.C. - East Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity lZl Ofticial capacity

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Defendant No.9
Name: R. WHITE
Job or Title: Sergeant of C.F.R.C - East Unit
Shield Number: Unknown
Employer: Florida Department of Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
IZI Individual capacity |Zl Official capacity
Defendant No.10
Name: J. SMITH
Job or Title: Correctional Officer - East Unit
Shield Number: Unknown
Employer: Florida Department of` Corrections
Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831
lZl Individual capacity lZl Official capacity

II. Basis for Jurisdiction

A. Are you bringing suit against

l'_`| Federal officials (a Bivens claim)
|Zl State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If
you are suing under section 1983, what federal constitutional or statutory right(s)
do you claim is/are being violated by state or local officials?

AMENDMENT 1
Religious and political freedom.

Congress shall make no law respecting an establishment of religion, or prohibiting the free
exercise thereof; or abridging the freedom of speech, or of the press; or the right of the people
peaceably to assemble, and to petition the Government for a redress of grievances

AMENDMENT 14
Section l. [Citizens of the United States.]

All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
citizens of the United States and of the State Wherein they reside. No State shall make or enforce
any law which shall abridge the privileges or immunities of citizens of the United States; nor
shall any State deprive any person of life, liberty, or property, Without due process of law; nor
deny to any person within its jurisdiction the equal protection of the laws.

The Defendant(s) directly and indirectly partook in violating the Plaintiff’s
constitutionally protected rights to free speech/redress under the First Amendment of the
Constitution, whereas the defendant(s) subjected Plaintiff to a total of 91 days in
Administrative/Disciplinary Confinement as retaliatory means for exercising his rights to redress

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of grievances Furthermore, the defendant(s) violated the Plaintiff‘s Due Process requirements
Insofar as; I he was unjustly stripped of all his privileges such as: access to kiosk, phone, rec-
yard, canteen, television, a daily shower, his personal study books and his visiting privileges
were suspended for l-year.

C. Plaintiffs suing under Bivens may only recover for the violation of certain
constitutional rights. If you are suing under Bivens, what constitutional right(s) do
you claim is/are being violated by federal officials?

Not Applicable

D. Section 1983 allows defendants to be found liable only when they have acted
“under color of any statute, ordinance, regulation, custom, or usage, of any State
or Territory or the District of Columbia.” 42 U.S.C. § 1983. If you are suing under
section 1983, explain how each defendant acted under color of federal law.

1. Defendant Jones; should be found liable for failing to act upon the letter(s) the plaintiff
submitted to her on 1/8/ 18 and 8/9/ 18 about the retaliatory placement in Protective Management
(PM) on 1/5/ 18 and the retaliatory placement in Disciplinary Confinement on 8/9/18. Defendant
Jones is responsible for the daily operation of the Florida Department of Corrections (FDOC)
and all of the Department’s employees Defendant J ones refused to acknowledge that the Florida
Administrative Code (FAC) did allow for the Plaintiff to file such a grievance directly to the
Defendant so that she could intervene and prevent the continuing use of retaliation and adverse
deterrence being used by defendant(s) at Central Florida Reception Center (CFRC)

2. Defendant Neel; should be found liable for failing to accept the numerous grievances of
reprisal that the plaintiff filed pursuant to the policy and procedure in place by the Department.
The Plaintiff advised Defendant Neel that he was being subjected to retaliatory action,
harassment, and threats by Defendant(s) Flonnery, Saunders, Muggs, White, and Smith.
Defendant Neel was privy of the fact that the plaintiff was placed in Administrative Confinement
three (3) times for filing grievances against Defendant Mugg, Flonnery, Saunders, White, and
Smith.

3. Defendant Cumbie; should be found liable as she failed to intervene and order that her
inferior employees cease all retaliatory and adverse actions taken against the plaintiff. The
plaintiff advised this defendant on numerous occasions throughout the grievance procedure and
inform defendant Cumbie of all the retaliatory actions being used by her officials Instead,
Defendant Cumbie knowingly and willfully turned a blind eye to the wrong-doing that the
Plaintiff was subjected to. All of this ultimately ended with the Plaintiff receiving a Disciplinary
Report and losing his visiting privileges for a year after spending a total of 91 days in segregated
confinement

4. Defendant Casimir; should be found liable for failing to ensure that the applicable rules
and policy were enforced upon all officials under her control. Defendant Casimir was the first
defendant that was advised of the retaliation being used by defendant Flonnery as defendant
Casimir sent Flonnery to investigate the Complaint filed on 12/27/ 17 against defendant Mugg.
The Plaintiff fully advised Casimir that he was not in fear of his life and that he was placed in

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protective custody only as a means of retaliation for filing the grievance Defendant Casismir
was also notified of the other two instances where I was placed again in confinement for filing
grievance Defendant Casimir did nothing to stop the constant retaliatory actions being used
against the plaintiff Defendant Casimir had the ability and authority to ensure that the plaintiff
. be released or transferred from administrative confinement

5. Defendant Tate; should be found liable for knowingly providing false statements and
facts on her denials of the grievances presented by the plaintiff These acts committed deprived
the plaintiff of a fair and impartial proceeding in which he was seeking redress for the
unprofessional actions committed by defendant Mugg. Instead, defendant Tate willfully
participated in deceptive and malicious tactics to deny the plaintiff of the remedy that policy
allows for, when it’s found that officials of the Department acted in ways that violate their rules
of professional conduct. All of which defendant Tate was fully aware of or should have known.

6. Defendant Flonnery; should be found liable for subjecting the plaintiff to 29 days of
segregated confinement as retaliation for filing grievance. As well as losing all his privileges
unnecessarily

7. Defendant Saunders; should be found liable for subjecting the plaintiff to ll days of
segregated confinement as retaliation for filing grievance for the second time.

8. Defendant Mugg; should be found liable for failing to conduct himself in a respectful and
ethical manner as required by Florida Statute, Florida Administrative Code, and along with his
oath of office that he sworn and subscribed to uphold while working for the Florida Department
of Corrections. All of the above-mentioned named defendant(s) have violated the Plaintiff’s First
Amendment Rights, Violated the Due Process Clause for failing to adhere to the Florida
Administrative Code (F.A.C.) and the Laws found in the Florida Statutes (Fla.Stat)

9. Defendant White; should be found liable for subjecting the plaintiff

10. Defendant Smith; should be found liable for subjecting the plaintiff

III. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (Check all that
apply)=

- Pretrial detainee
° Civilly committed detainee
~ Immigration detainee
XConvicted and sentenced state prisoner
' Convicted and sentenced federal prisoner
° Other (explain)

 

IV. Statement of Claim

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State as briefly as possible the facts of your case. Describe how each defendant was
personally involved in the alleged wrongful action, along with the dates and locations of all
relevant events. You may wish to include further details such as the names of other persons
involved in the events giving rise to your claims. Do not cite any cases or statutes. If more than
one claim is asserted, number each claim and write a short and plain statement of each claim in a
separate

On 12/27/2017 I filed an informal grievance to bring to the attention of C.F.R.C. - East
Unit Administration that Sgt. D. Mugg (Defendant Mugg) woke two inmates up by slamming his
closed fist on his mattress and then proceeded to kick the other inmates bunk to Wake them up
for count.

On 1/5/ 18 at approx. 8:45a.m. I was told to report to the Captains Officer to see the
O.I.C. (Officer In Charge). Once inside his office Capt. L. Flonnery (Defendant Flonnery)
showed me a copy of the grievance filed on 12/27/17. Capt. L. Flonnery asked me if I filed an
Inforrnal on Sgt. D. Mugg. I stated, “Yes!” he asked me to read the grievance to him and I told
him that all the facts stated therein are true and correct. I also explained that I should not be
subjected to any form of retaliation and that my Inforrnal Grievance should be answered in
writing and this is incorrect because no one else was present and I feel that you are retaliating
against me for filing the grievance on one of your Sgt’s. Capt. L. Flonnery than stated, “well
then, I’ll make sure that no one will retaliate against you,” and Capt. L. Flonnery hand cuffed me
and placed me in AJC.

On 1/8/ 18 I filed an informal grievance to Asst. Warden C. Casimir (Defendant Casimir)
explaining to her that I was being subjected to retaliation by Capt. L. Flonnery because my
Informal Grievance filed on 12/27/ 17 I explained that Capt. L. Flonnery is the Officer-in-Charge
(O.I.C) who is on the same shift as Sgt. D. Mugg. Capt. L. Flonnery then took matters into his
own hands and took my filing against Sgt. D. Mugg personal and, I find myself in
Administrative Confinement (A/C) for filing the grievance against Sgt. D. Mugg.

On 1/8/ 18 I filed a direct grievance to C. Neel (Defendant Neel) and I also wrote a letter
to Julie L. Jones (Defendant Jones) and I advised them that I was being subjected to retaliatory
action by Captain Flonnery for filing an Informal Grievance against Sgt. Mugg. I further
explained that On 12/27/ 17 I filed a grievance to Warden S. Cumbie and Col. R. Schrnitt to point
out that on two occasion (12/24/ 17 & 12/27/17) Sgt. D. Mugg acted in an unprofessional manner
and that his actions and conduct are not one made by any right minded official of the Dept. (I
rely on Video Evidence to show Sgt. D. Mugg unprofessional conduct on the date & time
indicated by Informal.) I have did nothing deserving of being placed in PM as I was only
exercising my right to grieve a grieveable issues. There is no justification for my placement in
confinement

On 1/10/ 18 I filed a formal grievance of a sensitive nature to Warden S. Cumbie
(Defendant Cumbie) because on top of the retaliation, I was also, being subjected to harassment
and threats by officials. I explained that Sgt. G. Ullius came to H3104 and said are you still in
fear of your life‘? I told her that this has nothing to do with me being in fear. I wrote a witness
statement stating such, and Sgt. G. Ullius became angry because she said that Capt. L. Flonnery
wants to know if I am in fear of my life. I told Sgt. G. Ullius that I made my statement on the
witness form, signed and dated it for Institutional Classification Team (I.C.'I`.) to review. She
then slammed the flap in my face and said something to the effect that “I don’t care if you stay
back here for a long time.” (I rely on the Audio and Video evidence for her exact words and
actions @ approx. 9:00a.m. on 1/10/18.) I am being subjected to harassment and retaliation due

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to my grievance against Sgt. Mugg. Capt. L. Flonnery has placed me in protective custody as
means of retaliation and the comments made by Sgt. G. Ullius also goes to show her
participating in this retaliatory action.

On 1/10/18 Lieutenant ”l`. Ehrlich (Defendant Ehrlich) answered my grievance filed on
1/8/ 18 stating that, my placement in confinement was justified and not done in retaliation
because your placement was strictly based on a statement made by the plaintiff This was the
defendant’s reasoning to justifying the wrong-doing committed

1/26/18 I filed a grievance of reprisal to (Defendant Neel), because I was still being
harassed, threaten, and subjected to retaliatory actions. I explained that on 1/25/ 18 at approx.
2:30p.m. When housed at H3104L C.O. A. Radcliff woke me up and told me to cuff up. I
complied He then proceeded to shake my cell down. I asked him why he picked me and said
“this ain’t nothing, keep filing your grievance on my people. Blood is thicker than water, and
there one in the same.”I have done nothing wrong to warrant this treatment for exercising my
rights to grieve.

On 2/8/18 I appealed the denial of formal grievance filed on 1/10/18. I advised
(Defendant Neel) that the Defendant Flonnery violated my First Amendment rights and that
Defendant Flonnery stepped outside of his official capacity and took my grievance personally. I
did nothing to merit being placed in confinement under protective custody as I did not request
nor asked to be placed in A/C as I was never in fear of my life. Which was Capt. L. Flonnery
assertion to justify placing me in confinement in the first place.

On 2/22/18 I appealed Defendant Ehrlich’s determination explaining that, On 1/10/18
Lieutenant T. Ehrlich stated that “due to that statement you did not remain in open population for
security reasons.” The statement she is referring to was “his conduct is going to cause
irreparable harm to the Dept’s outlook as well as my well-being and safety.” Nothing in that
statement deemed for me to be placed in Protective Management (PM) as it was clear that the
conduct complained about was going to harm the Department of Corrections because Sgt. D.
Mugg actions were not actions taught by FDOC. The only way that my well-being and safety
could have been jeopardized would have been if, the inmate that Sgt. D. Mugg woke up by
slamming his fist on his matters as clear video evidence will show by reviewing Bravo dorms
camera on 12/27/ 17 @ approx. 7:34a.m. that unprofessional conduct could of caused 30 officers
to come storming into Bravo donn and only god knows how many inmates including myself
could have been subjected to any form of harm. The only reason I was placed in PM by Capt. L.
Flonnery on 1/5/ 18 was to deter and frighten me from pursing the grievance procedure any
fu.rther.

On 3/21/ 18 the appeal for the grievance filed on 1/10/ 18 was approved and sent back to
Defendant S. Cumbie with direction to have the appropriate actions taken and, to provide the
plaintiff with an amended response once the investigation was conducted.

A. If the events giving rise to your claim arose outside an institution, describe where and
when they arose.

Not Applicable
B. If the events giving rise to your claim arose in an institution, describe where and when
the arose. ,

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C. What ate and approximate time did the events giving rise to your claim(s) occur? `
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D. What are the facts underlying your claim(s)‘? (For examples What happened to you‘? Who 7“‘ F¢h.

did what? Was anyone else involved‘? Who saw wha h_appened?) _ _ _ _
1 WQS fia(;<Ol ‘f\ Coni-"m¢_me/\“\’ 'H\I£< icm-cs aj Y¢i'~€tito~i'm/| gvr£:/m_¢ §I'/¢l/Q'?(Cf
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If you sustained injuries related to the events alleged above, describe your injuries and
state what medical treatment, if any, you required and did or did not receive. ~0 F}) y_,-, }a/ ,`,,J W,'(j

VI. Relief

State briefly what you want the court to do for you. Make no legal arguments Do not cite
any cases or statutes. If requesting money damages, include the amounts of any actual damages

and/or punitive damages claimed for thenact_s alleged. Explain the basis for these claims.
Plainl-i¢f' 15 S`ce|<in; P<m ti'w¢ damages m +l\c am.om+ oé ~£l 100, 000 per
VII. Exhaustion of Administrative Remedies Administrative Procedures defindanf‘

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o
action shall be brought with respect to prison conditions under section 1983 of this title, or any
other Federal law, by a prisoner confined in any jail, prison, or other correctional facility until
such administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedure Your case may be
dismissed if you have not exhausted your administrative remedies

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?
' No

If yes, name the jail, prison, or correctional facility where you were confined at the time of the

events giving rise to your claim(s). Ce/V"r_cv\ go (;dc~ gaap 150 m C£n {Fe r1 _) 000 m
__\,Sc,\lc~\ M, 0 ricmdeo ,l>l. 313/31

 

B. Does the jail, prison, or other correctional facility Where your claim(s) arose have a
grievance procedure?

@>

~ No
~ Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where your
claim(s) arose cover some or all of your claims?

Yes
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- No
- Do not know

D. Did you file a grievance in the jail, prison, or other correctional facility where your
claim(s) arose concerning the facts relating to this complaint?

w

o‘O

If no, did you file a grievance about the events describe in this complaint at any other jail,
prison, or other correctional facility?

8 Yes
~ No

E. If you did file a grievance:
1. Where did you file the grievance?

Central Florida Reception Center - East/Main Unit(s) 70<:>0 l-l C /(C //ci{ QD( 1
ortando, 1313 123 l

2. What did you claim in your grievance?

_ _ Retaliation for filing grievance as well as being deprived of privileges l>7 plact`nj
fi“"\i"pf m ConFi/i emm 4l'
3. What was the result, if any?

Denied at the Institutional level

4. What steps, if any, did you take to appeal that decision? Is the grievance process
completed? If not, explain why not. (Describe all efforts to appeal to the highest level of the
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F. Ifyoudldnotfileagrlevance: pi“_m+|.# hal exhaude _jd {:\U+ +Wg achan

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1. If there are andy reai)oifsnvyhy§y'dir)diifhd(t file a §ri\eov+aii§e': stia£iiiathbofn hre'i'e:maccmc"+ m C°"F‘"("‘€'rf,

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am LJFCIS'SW@;;.,)M.+ +ws C¢>mP'm/\+ af 11 b“°“a‘ IM '" few °f "y 345
2. If you did not file a grievance but you did inform officials of your claim, state who you '

informed, when and how, and their response, if any:

On 1/8/2018 I wrote a letter to defendant Julie L. Jones advising her of what
CentralFlorida Reception Center +l\en aj a`m oh g..q -\Q

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies

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(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your _ administrative remedies.) jack (o( 75 a M/ fof §§ m ~/

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VIII. Previous Lawsuits

 

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal
court without paying the filing fees if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
State that was dismissed on the grounds that it is frivolous, malicious, or fails to state a
claim upon which relief may be granted, unless the prisoner is under imminent danger of
serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes
rule”?

If yes, state which court dismissed your case, when this occurred, and attach a copy of the
order if possible.

NGT A-',g,p/)cq/;/€

A. Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another page, using
the same format.)

Parties to the previous lawsuit: Not Applicable

Court : Not Applicable

Docket or index number: Not Applicable

Name of Judge assigned to your case: Not Applicable
Approximate date of filing lawsuit: Not Applicable

Is the case still pending

53\5-":'>5"!`-’.’"

7. " !at Was the result of the case? (For example: Was the case dismissed? Was judgment
entered in your favor? Was the case appealed?): Not Applicable

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C. Have you file other lawsuits in state or federal court otherwise relating to the conditions
of your imprisonment?

D. If your answer to C is yes, describe each lawsuit by answering questions l through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another page, using
the same format.)

l. Parties to the previous lawsuit: Not Applicable
2. Court : Not Applicable
3. Docket or index number: Not Applicable
4. Name of Judge assigned to your case: Not Applicable
5. Approximate date of filing lawsuit: Not Applicable
6. Is the case still pending
~ Yes
7. at was the result of the case? (For example: Was the case dismissed? Was judgment

entered in your favor? Was the case appealed?): Not Applicable

 

IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so indentified, will likely have evidentiary support after a reasonable opportunity
for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office With any change to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’s Office may result in the dismissal of my case.

Dateofsigning: /}Z@l/'CL) /y+i 6~0/9

l
signature orplaintiff: 601/dam %€M

Printed Name of Plaintiff: William Flores
Prison Identification #: T16425

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Prison/Facility: Central Florida Reception Center - East Unit (C.F.R.C.)
Prison Address: 7000 H.C. Kelley Road, Orlando, Fl. 32831

B. For Attorney

Date of signing:

 

Signature of Attorney: None Available
Printed Name of Attorney: None Available
Bar Number: None Available

Name of Law Firrn: None Available
Address: None Available

Telephone Number: None Available
E-mail Address: None Available

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